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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 JOHN BARON and JOEL MILLET,

                       Plaintiffs,                    CLASS ACTION COMPLAINT

        v.
                                                      DEMAND FOR JURY TRIAL
 iFIT HEALTH AND FITNESS, INC., a
 Delaware Corporation,

                       Defendant.



                               CLASS ACTION COMPLAINT

       Plaintiffs John Baron and Joel Millet (“Plaintiff”) individually and on behalf of all those

similarly situated, by and through their attorneys, bring this action against Defendant iFIT Health

& Fitness Inc., (“iFIT” or “Defendant”) and allege as follows:

                                       INTRODUCTION

       1.      This action arises from Defendant’s sale of iFIT branded fitness equipment that

offers users streamed workouts, which are plagued by severe performance and connectivity issues

that cause disruption in the streaming of workouts to the equipment.

       2.      Specifically, Defendant is a long-time purveyor of at-home fitness equipment—

such as treadmills, stationary bikes, elliptical machines, rowers and other strength training

equipment—sold under the NordicTrack, ProForm, Freemotion, and Matrix brand names.

       3.      In 2007, prior to changing its corporate name, Defendant debuted what it referred

to as iFIT, a workout tracker and content system connected to both tablets and iFIT-enabled

equipment.

       4.      In the ensuing years, iFIT morphed into a health and fitness application and

streaming platform that offers a wide variety of classes that can be streamed to the video screen
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equipped in an iFIT-enabled fitness device, or a phone or tablet, to deliver a gym-caliber

experience to users in the comfort of their own homes. 1




         5.      Defendant describes the iFIT service as a “common operating system [that]

connects [iFIT’s] content to [its] hardware and makes it one interactive platform. It lets [iFIT’s]

trainers remotely control iFIT equipment in real time to adjust conditions like speed, incline,

resistance and digital weight during livestreamed classes. The result is an interactive, touchless

workout experience nobody else can deliver.” 2

         6.      Defendant grew iFIT into a content provider in order to gain market share in the at-

home fitness market currently dominated by companies like Peloton, which offer not only top-of-

the-line equipment, but also proprietary fitness classes streamed directly to screens embedded in

the equipment itself.

         7.      Accordingly, Defendant now sells proprietary iFIT enabled fitness equipment

(“Class Devices”), the key sales proposition for which is the on-demand availability of iFIT fitness

classes.


1
    Connected Fitness, iFIT, https://www.iFIT.com/connected-fitness
2
    Our Story, iFIT, https://company.ifit.com/en/our-story/


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        8.      Because of the additional capabilities, described above, that iFIT enabled fitness

equipment has over the competition, iFIT sells the equipment at a premium. For the same reason,

iFIT capabilities are an integral and inseparable part of the Class Devices sold by iFIT.

        9.      The ability to stream iFIT classes is the sole material distinguishing feature of Class

Devices, and the sole reason for the price premium paid for the Class Devices when compared to

similar fitness devices which are sold without iFIT.

        10.     In other words, an iFIT enabled stationary bike is sold at a premium when compared

to a stationary bike without iFIT solely because the user of the iFIT bike is willing to pay a

premium for the capability to stream iFIT classes.

        11.     Unfortunately, it is only after buying the equipment and paying for the iFIT service

that consumers discover the equipment they purchased at a substantial premium over traditional

offerings suffers from connectivity and streaming issues that effectively render the equipment

useless.

        12.     Consumers report that iFIT-enabled fitness equipment will spontaneously cease

streaming (or repeatedly freeze) while the equipment is in use, often notifying users that the video

should resume in 5 seconds, only to fail to do so (the “Defect”).

        13.     Defendant has yet to cure the Defect, and instead suggests to customers a series of

half-measures that (at best) alleviate the symptoms of the Defect only temporarily while failing to

actually cure it.

        14.     For example, Defendant typically asserts that its equipment is working correctly

and suggests that users instead (1) shut down and restart their equipment; (2) move a wireless

router immediately next to the machine; (3) ask other members of the household to cease using the

internet; (4) purchase a dual band router; (5) use a cell phone as a hotspot; or (6) purchase a mesh




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network and place a mesh node right next to the machine. None of these purported “solutions”

work consistently, however, nor do they allow consumers to use their equipment as expected and

intended.

         15.     Consumers are unaware of the connectivity and wireless issues that plague iFIT

equipment prior to purchase. Only once they begin to stream iFIT content do they learn they cannot

consistently utilize the fitness equipment they purchased at a premium price.

         16.     Accordingly, Plaintiffs on behalf of themselves and all others similarly situated,

bring this action to redress Defendant’s violations of the Magnuson Moss Warranty Act, Florida

Deceptive Unfair Trade Practices Act (“FDUTPA,” Fla. Stat. §§ 501.201, et seq.), and New York

General Business Law (“NYGBL,” N.Y. Gen. Bus. Law § 349), and also seek recovery for

Defendant’s breach of express warranty, breach of various implied warranties, unjust enrichment,

negligent misrepresentation, and fraudulent concealment.

                                             PARTIES

A.       Plaintiff John Barron

         17.     Plaintiff John Baron resides in Tampa, Florida.

         18.     In or about June 2022, Plaintiff Barron purchased a NordicTrack S22i Studio Bike 3,

which is the stationary bike depicted below, equipped with a screen for streaming workouts

through iFIT’s streaming service:




3
    https://www.nordictrack.com/exercise-bikes/s22i-studio-bike


                                                  4
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       19.     The streaming functionality and iFIT’s streamed workouts were the main reason

why Plaintiff Barron purchased the NordicTrack s22i stationary bike.

       20.     Plaintiff Barron purchased the NordicTrack s22i Studio Bike from Facebook

marketplace for roughly $850. Prior to doing so, Plaintiff Barron visited iFIT’s and/or

NordicTrack’s website to research their lineup of screen-equipped stationary bikes enabled with

iFIT’s workout streaming capabilities. NordicTrack’s webpage for the s22i Studio Bike advertises

to consumers that the bike will allow them to stream iFIT workouts, such the advertisements below

depicted on the webpage right beneath the photos of the s22i Studio Bike:




       21.     NordicTrack’s website further advertises to consumers that iFIT’s streamed

workouts will automatically adjust the resistance, incline, and decline of the s22i Studio Bike:




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       22.     Nowhere on the s22i Studio Bike’s page or any other iFIT webpage did Defendant

disclose the Defect to Plaintiff Barron.

       23.     Almost immediately after purchasing the s22i Studio Bike, Plaintiff Barron began

to experience streaming connectivity issues. Specifically, over the course of Plaintiff Barron’s

ownership of the s22i Studio Bike, he has experienced total video failure during roughly 75-80%

of his workouts. In the 20-25% of workouts that do not fail altogether, Plaintiff Barron experiences

audio and/or video lag, buffering, and poor picture quality.

       24.     Plaintiff Barron contacted NordicTrack support twice for this issue, first on or about

July 5, 2022, and again in early August 2022. Each time, NordicTrack support conducted a full

reset of Plaintiff Barron’s bike and had him fully reset the bike, neither of which cured the Defect.

Plaintiff Barron instead continued to regularly experience total video failure during his workouts.

       25.     NordicTrack support blamed the streaming issues encountered by Plaintiff Barron

on his internet connection, but Plaintiff Barron has 1GB internet speed in his home and purchased

an Eros mesh WiFi system to ensure his entire house has optimal internet speed, but it has not

cured the Defect, or even improved the streaming issues he has experienced. No other WiFi

enabled devices in Plaintiff Barron’s home have internet connectivity issues, including devices

located in the same room and/or nearby his s22i Studio Bike.




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         26.     As a result of Defendant’s inability to cure the Defect, Plaintiff Barron has been

deprived of the benefit of the parties’ bargain. Further, had Defendant refrained from the

misrepresentations and omissions described herein, Plaintiff Barron would not have purchased

his workout equipment or would have paid less for it.

B.       Plaintiff Joel Millett

         27.     Plaintiff Joel Millett currently resides in Wilmington, North Carolina.

         28.     In August 2019, while he was living in Horseheads, New York, Plaintiff Millett

purchased a NordicTrack S22i Studio Bike 4, which is the stationary bike depicted below, equipped

with a screen for streaming workouts through iFIT’s streaming service:




         29.     The streaming functionality and iFIT’s streamed workouts were the main reason

why Plaintiff Millett purchased the NordicTrack s22i stationary bike.

         30.     Plaintiff Millett purchased the NordicTrack s22i Studio Bike new from Amazon for

roughly $1999 plus tax. Prior to doing so, Plaintiff Millett visited iFIT’s and/or NordicTrack’s

website to research their lineup of screen-equipped stationary bikes enabled with iFIT’s workout

streaming capabilities. NordicTrack’s webpage for the s22i Studio Bike advertises to consumers




4
    https://www.nordictrack.com/exercise-bikes/s22i-studio-bike


                                                  7
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that the bike will allow them to stream iFIT workouts, such the advertisements below depicted on

the webpage right beneath the photos of the s22i Studio Bike:




       31.     NordicTrack’s website further advertises to consumers that iFIT’s streamed

workouts will automatically adjust the resistance, incline, and decline of the s22i Studio Bike:




       32.     Nowhere on the s22i Studio Bike’s page or any other iFIT webpage did Defendant

disclose the Defect to Plaintiff Millett.

       33.     Roughly 6-8 months after purchasing the s22i Studio Bike, Plaintiff Millett began

to experience streaming connectivity issues. Specifically, over the course of Plaintiff Millett’s

ownership of the s22i Studio Bike, a substantial percentage of his workouts have resulted in the

workout dropping and the bike having to reboot and/or total video failure. Furthermore, even when




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workouts do not fail altogether, Plaintiff Millett experiences audio and/or video lag, buffering, and

poor picture quality.

          34.   Plaintiff Millett contacted NordicTrack support for this issue. NordicTrack support

had Plaintiff Millett download an app on his phone in order to assess his WiFi signal strength,

which Defendant determined was sufficient. It made no other effort to cure the Defect, the

symptoms of which he continues to experience.

          35.   As a result of Defendant’s inability to cure the Defect, Plaintiff Millett has been

deprived of the benefit of the parties’ bargain. Further, had Defendant refrained from the

misrepresentations and omissions described herein, Plaintiff Millett would not have purchased his

workout equipment or would have paid less for it. Nonetheless, NordicTrack support blamed the

issue on his WiFi connection. But Plaintiff Millett knows that his WiFi connection is not the source

of the malfunction because he has used multiple other WiFi enabled devices in the vicinity of his

bike, none of which have had WiFi connectivity problems. Furthermore, Plaintiff Millett has fiber

optic WiFi connection to his house which provides particularly high WiFi speeds, and his s22i

bike is located only 20 feet from his internet router, but he continues to experience the connectivity

issues.

C.        Defendant

          36.   Defendant iFIT Health and Fitness Incorporated is a Delaware corporation

headquartered at 1500 South 1000 West Logan, Utah 84321. iFIT and its subsidiaries own or have

the rights to various trademarks, trade names, service marks and copyrights, including the

following brands: iFIT®, NordicTrack®, ProForm®, Freemotion®, Weider®, Weslo®, 29029® and

Sweat®, which are its principal brands, as well as iFIT ActivePulse™, iFIT Mind™, LiveAdjustTM,




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SmartAdjustTM, SpaceSaver™, FreeStride™, Vue™, Vault™ and various logos used in association

with these terms. 5

        37.      At all times relevant to this action, Defendant, its subsidiaries, and/or its agents

manufactured, distributed, sold, and warranted the Class Devices throughout the United States,

including the owner’s manuals, warranty documents, advertisements, and other promotional

materials pertaining thereto.

                                  JURISDICTION AND VENUE

        38.      This Court has subject matter jurisdiction over this action pursuant to the Class

Action Fairness Act, 28 U.S.C. § 1332(d), because (i) there are 100 or more Class members;

(ii) there is an aggregate amount in controversy exceeding $5,000,000, exclusive of interest and

costs; and (iii) there is minimal diversity because at least one plaintiff and one defendant are

citizens of different states.

        39.      This Court has supplemental jurisdiction over the state law claims pursuant to 28

U.S.C. § 1367.

        40.      This Court has personal jurisdiction over Defendant because it is incorporated in

this judicial district, has conducted substantial business in this judicial district, and intentionally

and purposefully placed its fitness equipment into the stream of commerce within Delaware and

throughout the United States.

        41.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because

Defendant is incorporated in this district, advertises in this district, and has received substantial




5
 See https://www.sec.gov/Archives/edgar/data/1850741/000119312521288661/d12906
0ds1a.htm (last visited October 4, 2022).


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revenue and profits from its sales of iFIT equipment in this district. Therefore, a substantial part

of the events and/or omissions giving rise to the claims herein occurred, in part, within this district.

                                   FACTUAL ALLEGATIONS

A. iFIT Emphasizes its Workout Streaming Service in its Advertisements to Consumers

        42.    Defendant describes itself as “a health and fitness subscription technology

company, fueled by our passion to innovate, grow and provide meaningful solutions for our

members,” and touts that it has “over 6.4 million Total Members and more than 1.5 million Total

Fitness Subscribers with members in over 120 countries.” 6

        43.    Defendant advertises iFIT as “Interactive fitness reimagined” that allows customers

to “bring home live events, on-demand Global Workouts and Studio Classes.” 7

        44.    Defendant’s public-facing statements consistently emphasize that its products are

designed to “connect” consumers with interactive workouts through its screen-enabled fitness

equipment and streamed workout classes:

        We are a health and fitness subscription technology company …. iFIT is an
        integrated health and fitness platform, designed to connect our proprietary
        software, experiential content and interactive hardware to deliver an
        unmatched connected fitness experience …. We deliver our patented interactive
        experiences on the industry’s broadest range of fitness modalities including
        treadmills, bikes, ellipticals, rowers, climbers, strength equipment, fitness mirrors,
        yoga equipment and accessories.

        45.    Indeed, Defendant describes the Class Devices as “interactive fitness products” and

“connected fitness products” with “iFIT Subscriptions” enabled with the ‘iFIT operating system”

that “provides interactive experiences on all of [Defendant’s] connected equipment brands,

allowing members to gain access to [Defendant’s] full library of iFIT live and on-demand



6
  See https://www.sec.gov/Archives/edgar/data/1850741/000119312521288661/d12906
0ds1a.htm (last visited October 4, 2022).
7
  Banner Advertising, https://www.iFIT.com (last visited on August 18, 2022)


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content.” 8 Thus, Defendant considers its fitness equipment and streamed workouts as combining

to form one product: “We believe the combination of our proprietary software and experiential

content connected with our interactive hardware creates a compelling value proposition for our

rapidly growing member base ….” 9



        46.    Defendant’s advertisements are centered around its streaming service and

emphasize that its service allows owners of iFIT equipment to stream exercise classes through

iFIT’s equipment:

        Providing a unique, two-way user experience that keeps our growing community
        of over 6.4+ million members engaged is the motivation behind iFIT’s proprietary
        software. Our common operating system connects our content to our hardware and
        makes it one interactive platform. It lets our trainers remotely control iFIT
        equipment in real time to adjust conditions like speed, incline, resistance and digital
        weight during livestreamed classes. The result is an interactive, touchless workout
        experience nobody else can deliver. 10

        47.    The streaming capabilities of Class Devices thus are critical to Defendant’s

marketing strategy and ability to compete in the at-home fitness market, which companies like

Peloton have disrupted. For example, Defendant asserts that Class Devices provide “Endless

Training Possibilities[,]” and claims consumers will “[s]ay goodbye to workout monotony with a

variety of workout experiences. From studio sessions to global workouts and even cross-training

options like yoga and strength conditioning, our world-class trainers provide limitless variety.” 11

        48.     Defendant similarly advertises the NordicTrack Rower enabled with iFIT as a

combination that permits “Interactive Training Sessions[,]” and by touting its “constantly growing



8
  See https://www.sec.gov/Archives/edgar/data/1850741/000119312521288661/d12906
0ds1a.htm (last visited October 4, 2022).
9
  Id.
10
   Our Story, iFIT, https://company.iFIT.com/en/our-story/ (last visited on August 12, 2022).
11
   Id.


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library of global iFIT workouts feature AutoAdjust, allowing your compatible rower to adjust your

resistance automatically based on trainer cues.” 12

       49.     To market its workout streaming service, Defendant claims that the service is

backed by “proprietary software”:

       Our innovative iFIT software is the common operating system that unites our
       experiential content and interactive hardware into one integrated platform. Our
       software is the connective tissue that provides members with a unique two-
       way experience with iFIT’s authentic trainers. Through iFIT’s patented software,
       biometric data is monitored and workout variables including speed, incline,
       resistance and digital weight are dynamically adjusted in real time. Our interactive
       software optimizes our members’ workout experience by removing the guesswork
       and providing personalized training. We further personalize workouts with our
       patent-pending      SmartAdjustTM and       ActivePulseTM technologies,       which
       automatically adjust our equipment based on members’ real-time fitness levels and
       heart rates. Our distinctive leaderboard allows members to connect and interact
       with a global community of like-minded people.

       We strive to create the most compelling interactive content in the health and fitness
       industry. Our highly differentiated content seamlessly integrates with our
       proprietary software and interactive hardware, delivering a unique media form that
       we call “experiential content.” Our members enjoy patented live interactive studio
       and outdoor workouts. Further, our members can access iconic fitness experiences
       with workouts filmed in more than 50 countries across seven continents. Our
       experiential content creates multi-sensory experiences that allow our members to
       see, hear and feel interactive workouts. Our content is developed and led by a team
       of over 180 world-class trainers in more than 60 categories including running,
       cycling, high-intensity interval training (HIIT), strength, boot camp and yoga, as
       well as new categories including mindfulness, nutrition and active recovery. Our
       recent acquisition of Sweat also gives our members access to additional
       differentiated content with over 5,000 unique workouts led by instructors who are
       globally recognized as top female fitness icons. 13

       50.     Defendant touts the number of subscribers of its streaming services: “During fiscal

2021, we (including Sweat) streamed 142 million live and on-demand interactive workouts across




12
   Rowing Machines, NordicTrack, https://www.nordictrack.com/rowing-machines (last visited
                on August 12, 2022).
13
   See https://www.sec.gov/Archives/edgar/data/1850741/000119312521288661/d12906
0ds1a.htm (last visited October 4, 2022).


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our fitness products …. In fiscal 2021, our iFIT members participated in 112 million workouts,

reflecting growth of 229% year over year.” 14

         51.     Defendant markets and sells iFIT-equipped fitness equipment to consumers

through the following iFIT-owned brands: NordicTrack, ProForm, Freemotion, Weider, and

Sweat.

         52.     Below is a breakdown of the percentage of Defendant’s total revenue generated by

each of the foregoing brands and streaming subscriptions:




         53.     iFIT touts that it “intentionally” offers a broad array of streaming-enabled, screen-

bearing equipment across a wide range of price points in order to attract the largest possible

customer base:

         We generate recurring subscription revenue on the industry’s broadest range of
         connected fitness hardware, including treadmills, bikes, ellipticals, rowers,
         climbers, strength equipment, fitness mirrors, yoga equipment and accessories.
         Our interactive hardware is intelligent—specifically designed and engineered
         to respond to our proprietary software and experiential content. This unique
         combination allows our members to have an immersive experience that can only be
         found on our hardware. 15


14
   See https://www.sec.gov/Archives/edgar/data/1850741/000119312521288661/d12906
0ds1a.htm (last visited October 4, 2022).
15
   See https://www.sec.gov/Archives/edgar/data/1850741/000119312521288661/d12906
0ds1a.htm (last visited October 4, 2022).


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         54.    iFIT advertises the following iFIT-equipped NordicTrack 16 equipment as capable

of providing streamed workouts 17:

     Treadmills 18           Bikes 19           Ellipticals 20              Strength 21          Rowers 22
 Commercial 1750       S27i Studio Bike      FS14i                    Fusion CST Studio          RW900
 Commercial 2450       S22i Studio Bike      FS10i                    Fusion CST                 RW700
 Elite Treadmill       FREE S15i Bike        Commercial 14.9          Vault: Complete            RW600
 Commercial X22i       Commercial R35        FREE Commercial          Vault: Standalone
                                             9.9
 Commercial X32i       Commercial VR25       Studio Elliptical        iSelect Voice-Controlled
                                                                      Dumbbells
 EXP 14i               Commercial VU 29      SpaceSaver SE9i
 EXP 10i               Commercial VU 19      SpaceSaver SE7i
 EXP 7i
 Elite 1000
 FREE C 1100i
 Elite 900

iFIT advertises the following iFIT-equipped Pro-Form 23 equipment as capable of providing

streamed workouts:

       Treadmills 24         Bikes 25                Ellipticals 26                Rowers         Strength
       Pro 9000        Studio Bike Pro 22    Pro HIIT H14                     Pro 750R Rower      Vue
       Pro 2000        Carbon CX             Pro HIIT H14 (Prev. Model)       Pro R10 Rower
       Carbon T14      Studio Bike Pro       Carbot HIIT H7                   440R Rower
       Carbon T10      Pro C10R              Carbon EL
       Carbon T7       Pro C10U              Carbon E10
       City L6         Hybrid Trainer XT     Hybrid Trainer XT
       Trainer 9.0     Studio Bike Limited   Carbon HIIT H10
       Trainer 8.0     TDF CSC
                       500 SPX



16
   https://www.nordictrack.com/
17
   https://www.nordictrack.com/
18
   https://www.nordictrack.com/treadmills
19
   https://www.nordictrack.com/exercise-bikes
20
   https://www.nordictrack.com/ellipticals
21
   https://www.nordictrack.com/strength-training
22
   https://www.nordictrack.com/rowing-machines
23
   https://www.proform.com/
24
   https://www.proform.com/treadmills
25
   https://www.proform.com/exercise-bikes
26
   https://www.proform.com/ellipticals


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iFIT advertises the following iFIT-equipped Freemotion 27 equipment as capable of providing

streamed workouts:

                 Treadmills 28               Bikes 29                   Ellipticals 30
             I22.9 Incline Trainer    Coachbike                E10.9b Total Body Elliptical
             I10.9b Incline Trainer   U22.9 Upright Bike       E8.9b Total Body Elliptical
             T22.9 Reflex             R22.9 recumbent Bike
             T10.9 Interval Reflex    R10.9b Recumbent Bike
             T10.9b Reflex            U10.9b Upright Bike
             T8.9b                    U8.9b Upright Bike
                                      R8.9b Recumbent Bike

iFIT advertises the following iFIT-equipped Matrix 31 equipment as capable of providing streamed

workouts:


                                  Treadmills 32   Bikes 33 Ellipticals 34
                                 TF30             R30       E30
                                 TF50             R50       E50
                                 T30              U30       A30
                                 T50              U50       A50
                                 T75              ICR50
                                 Climbmill C50

       55.      Each of the foregoing models of iFIT fitness equipment are equipped with a screen

for streaming workouts directly to the piece of equipment. Based upon widespread consumer

complaints reporting streaming disruption in various types of iFIT equipment, Plaintiffs allege




27
   https://freemotionfitness.com/
28
   https://freemotionfitness.com/machines-for-home-gym/incline-trainer/;
https://freemotionfitness.com/machines-for-home-gym/treadmills/
29
   https://freemotionfitness.com/machines-for-home-gym/indoor-bikes/
30
   https://freemotionfitness.com/machines-for-home-gym/ellipticals/
31
   https://matrixhomefitness.com/
32
   https://matrixhomefitness.com/collections/treadmills;
https://matrixhomefitness.com/collections/climbmills
33
   https://matrixhomefitness.com/collections/bikes
34
   https://matrixhomefitness.com/collections/ellipticals


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upon information and belief that all of the foregoing models of screen-bearing iFIT equipment

suffer from the Defect.

       56.     As evidenced by its advertisements, Defendant is aware that consumers purchase

iFIT equipment—and pay a premium for it—due to its purported streaming capabilities. Absent

these performance properties, iFIT equipment is nothing more than outdated fitness equipment

sold at inflated prices. The same is true of any of Defendant’s iFIT-enabled product offerings.

B. The Connectivity Issue

       57.     Defendant publicly touts that its exercise streaming service is engineered to

function seamlessly:

       We design and develop our own software, content, and hardware to ensure these
       elements work in harmony across our portfolio of brands and products …. Our
       content is delivered by our patented streaming technology that connects our wide
       range of connected devices. This comprehensive technology stack allows our
       devices to seamlessly connect to our network of products and members. This
       network effect of interactive fitness devices drives high engagement, retention, and
       social interaction. We believe our member-centric platform is difficult to replicate
       and highly scalable into adjacent categories and verticals ….

       We are constantly improving and expanding our members’ experience, which
       ensures high subscriber engagement, retention and satisfaction. We will continue
       to enhance our members’ experience by developing new content, deploying new
       software and continually personalizing the ways our members engage with iFIT.
       Whether consumers are at home, outside or in commercial facilities, iFIT will
       provide experiential content on our expanding platform of interactive equipment,
       mobile apps and digital TV apps. 35

       58.     As noted above and reflected in the many consumer complaints reproduced below,

Class Devices suffer from a Defect that results in streaming disruption due to, inter alia, buffering,

freezing, poor audio/visual quality, and/or total video failure. The Defect effectively renders

inoperable Class Devices, depriving Plaintiffs and the Class of the benefit of their bargain.



35
  See https://www.sec.gov/Archives/edgar/data/1850741/000119312521288661/d12906
0ds1a.htm (last visited October 4, 2022).


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         59.   One Facebook user commented about his interactions with Defendant deflecting

blame of iFIT’s poor video quality on the consumer’s “WiFi”:




         60.   Another user recorded the buffering issues he experiences when he attempts to

stream an iFIT workout on this NordicTrack EXP 10i, and uploaded the recording to YouTube. 36

         61.   A user who purchased a NordicTrack treadmill likewise complained they were

unable to make it through a single workout without the video buffering or freezing. And contrary

to Defendant’s self-serving claims that video failures are the result inadequate WiFi signals,

multiple users (like the one below) report that other WiFi-dependent devices located next to or

near their iFIT equipment function without issue, or have otherwise confirmed their WiFi is not

the cause of the streaming disruption:




36
     https://www.youtube.com/watch?v=9U7Ek5BTEvA&t=6s



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       62.     Consumers report they have taken a number of steps in an attempt to remedy the

Defect, all of which failed, including the following: (1) placing their internet router directly next

to their iFIT device; (2) adding a WiFi extender or a mesh networking device (like Google mesh)

and then placing that next to the iFIT device; (3) stopping streaming of video streaming services

like Netflix while exercising; (4) purchasing a dual band router; and, (5) using a mobile device as

a hotspot instead of home internet. 37 However, these troubleshooting efforts did not work for the

iFIT customer below or her daughter—and, on information and belief, countless others—who,

after purchasing a Google mesh system and upgrading their internet to the fastest available to them,

continued to experience video failures and were unable to save a record of their workout: 38




37
   See, e.g., Status, iFIT,
https://www.iFIT.com/status/5e155350ee0d6101b3bcd4d5?sfmc_j=1456517&sfmc_s=43473500
0&sfmc_l=15&sfmc_jb=7961&sfmc_mid=7307943&sfmc_u=58255162&fbclid=IwAR1dbYrIO
UAcI5EC3-1WGxAaHef3evwG9DmraqE13CLcmZ2IEvknaxCQK3A (last visited August 19,
2022).
38
    Id.


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         63.     Another user explained that his machine crashes and freezes, which iFIT support

representatives incorrectly blamed on his WiFi:




C. Defendant’s Knowledge of the Defect

         64.     Before Defendant placed Class Devices into the stream of commerce, it knew or

should have known that Class Devices suffer from the Defect. Yet, Defendant made no effort to

resolve the Defect prior to making Class Devices available for purchase.

         65.     Defendant instead continued to manufacture and sell defective Class Devices, while

failing to cure (or make any effort to cure) the Defect.

         66.     Embedded below are exemplar online complaints to which Defendant has

responded, thereby demonstrating its longstanding knowledge of the Defect. 39




39
     https://www.trustpilot.com/users/62f4076ae58751001257b0e5 (last visited on August 18,
                2022).



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      67.    Another customer made similar complaints about a NordicTrack stationary bike he

purchased in May 2021, which Defendant acknowledged by responding two days later:




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       68.    Defendant’s efforts to outline suggested cures for the Defect also evince its years’-

long knowledge of the major connectivity issues that plague its iFIT-enabled fitness equipment.

Indeed, as early as September 2020 (and on information and belief earlier) NordicTrack posted a

suggested workaround for the Defect so cumbersome it required two people to carry it out 40:




40
  IFIT Factory Reset, NordicTrack,
 https://web.archive.org/web/20200928211312/https://www.nordictrack.com/learn/iFIT-help-
 factory-reset-on-machine/ (last visited August 19, 2022)



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       69.     Defendant, upon information and belief, through (1) its public acknowledgement

of the Defect; (2) its own records of customers’ complaints, (3) repair records, (4) warranty and

post-warranty claims, (5) internal pre-sale testing and internal investigations, and (6) other various

sources, has always known or should have known of the Defect in the Class Devices. Yet, at no

time has Defendant disclosed the Defect to consumers, or warned consumers despite knowing the

Defect persists today.

       70.     Defendant failed to adequately research, design, test and/or manufacture the Class

Devices before warranting, advertising, promoting, marketing, and/or selling them as suitable for

use in an intended and/or reasonably foreseeable manner.

       71.     Defendant is experienced in the design and manufacture of consumer fitness

products such as the Class Devices and, therefore, in the ordinary course of its business conducts

tests, including pre-sale testing, to verify the fitness products it sells—including the Class




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Devices—are free from defects and align with Defendant’s advertisements, specifications, and

intended use of the Class Devices.

       72.     Thus, Defendant knew of the Defect and its associated manifestations and harms

prior to advertising and selling Class Devices, yet made no substantive design modifications to

eliminate the Defect and attendant manifestations.

D. Plaintiffs’ and the Class’ Reasonable Expectations

       73.     When purchasing Class Devices, Plaintiffs and the Class expected the equipment

to operate in accordance with its intended and ordinary purpose: to stream high quality fitness

classes without freezing, buffering or completely shutting down without any additional

requirements or accommodations, including but not limited to having to rearrange their homes,

cease use of the internet while working out, and/or purchase additional (and expensive) modems

and routers to facilitate their use of Class Devices. Additionally, Class Devices were marketed as

being capable of saving workout histories and statistics in order to help users meet their goals.

       74.     Plaintiffs and the Class reasonably expected Defendant—and Defendant was

obligated—to disclose the Defect prior to or at the time of sale due to Defendant’s superior and

exclusive knowledge thereof.

       75.     Defendant actively concealed from, and/or failed to disclose to, Plaintiffs and the

Class the true defective nature of Class Devices, and failed to remove the Class Devices from the

marketplace or take adequate remedial action to cure the Defect.

       76.     As a result of the Defect, Plaintiffs and the Class did not receive the benefit of their

bargain, and their Class Devices fail of their ordinary and intended purpose.

       77.     As a consequence of Defendant’s actions and omissions, Plaintiffs and the Class

have been deprived of the benefit of their bargain, lost use of the Class Devices, and incurred lost




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time and costs, including repair and/or replacement costs, time spent in arranging and obtaining

repairs, and inconvenience.

E. Defendant’s Deficient Warranty Performance

         78.    Despite longstanding knowledge of the Defect as set forth above, Defendant refuses

to cure the Defect in Class Devices. Instead, Defendant commonly blames the defect on owners’

WiFi connections in order to avoid performing warranty repairs.

         79.    iFIT provides essentially the same Limited Warranty for all its brands, which

promises that Class Devices are free from defects 41:

         iFIT, Inc. warrants this product to be free from defects in workmanship and
         material, under normal use and service conditions …. If replacement parts are
         shipped while the product is under warranty, the customer will be responsible for a
         minimal handling charge. For in-home service, the customer may be responsible
         for a minimal trip charge. This warranty does not extend to freight damage to the
         product …. For warranty service, please call the telephone number on the front
         cover of your manual. Please be prepared to provide the model number and serial
         number of the product.

         80.    Thus, if iFIT determines that a warranty repair is warranted and requires

replacement parts, customers are responsible for paying a handling charge. Moreover, if a repair

requires in-home service, the customer may be responsible for a trip charge.

         81.    As noted above and reflected in the many consumer complaints embedded herein,

Defendant has consistently failed to meet its warranty obligations because it has failed to develop

a true “fix,” instead proposing to customers stop-gap measures or home remedies that fail to cure

the Defect permanently. Defendant thus has breached its Limited Warranty.

         82.    The experience of the Class members is the same. The Defect arises from defective

materials or workmanship in the iFIT devices and is therefore covered under iFIT’s Limited




41
     https://www.nordictrack.com/warranty-terms-and-conditions


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Warranty. Yet iFIT has refused to fix the Defect and instead suggests various home remedies which

are not limited to the following:

             a. placing their internet router directly next to their iFIT device;

             b. adding a WiFi extender or a mesh networking device (like Google mesh) and then
                placing that next to the iFIT device;

             c. stopping streaming of video streaming services like Netflix while exercising;

             d. purchasing a dual band router; and,

             e. using a mobile device as a hotspot instead of home internet.

       83.      None of these home remedies or a myriad of other ones referenced in this complaint

actually fix the Defect within the iFIT device or remedy the issue.

       84.       As explained above, iFIT was aware, had reason to know, or was reckless in not

knowing that its suggested home fixes would not cure or rectify the Defect. Moreover, iFIT was

aware, had reason to know, or was reckless in not knowing that replacing one iFIT component

with another identical iFIT component also would not remedy the defect.

       85.      According to iFIT’s Limited Warranty, even when the iFIT device is under

warranty, the costs of repair are, at least partially shifted to iFIT’s customers, who must pay for

handling charges or trip fees. And, even worse, when all repairs fail to remedy the defect,

customers are left with an iFIT device that cannot actually stream exercise programs to its users,

which is the sole purpose for its purchase in the first place.

       86.      Accordingly, iFIT’s refusal to honor its warranty obligations renders their iFIT

devices useless and deprives consumers of the benefit of their bargain.

       87.      Alternatively, Defendant’s refusal to honor its warranty obligations shifts the costs

of the Defect onto its customer, who must pay to replace their defective iFIT fitness equipment

with competitive offerings at their own expense



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       88.      The Defect that arises outside the warranty’s limited period should nonetheless be

remedied by iFIT at no cost because the warranty is procedurally and substantively

unconscionable. Therefore, when the Defect arises, iFIT must be estopped from denying warranty

claims on the grounds that the warranty has expired. Specifically, the Class Device warranty is

procedurally unconscionable because:

             a. Consumers did not have a meaningful opportunity to participate in creating the
                warranty.

             b. iFIT is a nationally operating enterprise with a substantial market power to dictate
                the terms of the warranty to consumers.

             c. iFIT created the warranty term that consumers had no choice or ability to alter.

             d. iFIT offered the warranty to consumers on the “take-it-or-leave-it” basis.

The Class Device warranty is substantively unconscionable because:

             a. The iFIT devices are a durable good.

             b. It is material to a reasonable consumer that the iFIT devices will function properly
                without needing repair or replacement for a significant period of time

             c. Upon information and belief, at all relevant times, iFIT has had superior knowledge
                regarding the Defect present in the Class Devices due to its control over the design,
                manufacture, and/or testing of the Class Devices

             d. Upon information and belief, iFIT has had superior knowledge regarding the Class
                Devices’ lack of durability as a result of consumer complaints and warranty claims
                as early as September 2020

             e. Despite iFIT’s superior knowledge of the existence of the Defect and the likelihood
                that the Defect will manifest after expiration of the applicable warranty period, iFIT
                consistently refuses to replace failed iFIT devices under its warranty.

             f. Alternatively, when iFIT does replace the Class Devices, the replacement devices
                manifest the same defect.

       89.      iFIT’s warranty fails of its essential purpose because iFIT cannot cure the Defect.

       90.      Due to the reasons explained above, no reasonable consumer would enter into an

agreement with such terms.



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       91.     Accordingly, iFIT’s warranty is unconscionable, and iFIT must be estopped from

enforcing it against Class members.

             TOLLING OF THE STATUTE OF LIMITATIONS AND ESTOPPEL

       92.     Any applicable statutes of limitation have been tolled by Defendant’s knowing and

active concealment of the Defect as well as the omissions alleged herein. Through no fault or lack

of diligence, Plaintiffs and members of the Class were deceived regarding the Defect and could

not reasonably discover the defect or Defendant’s deception with respect to the Defect.

       93.     At all times, Defendant was and is under a continuous duty to disclose to Plaintiffs

and members of the Class the true standard, quality, character, nature and grade of the Class

Devices and to disclose the Defect. Instead, Defendant omitted disclosure of the presence of the

Defect and continues to sell Class Devices that contain the Defect, rather than repairing them prior

to sale. Defendant actively concealed the true standard, quality, character, nature and grade of the

Class Devices and omitted material information about the quality, reliability, characteristics and

performance of the Class Devices. Plaintiffs and members of the Class reasonably relied on

Defendant’s knowledge and concealment of the facts alleged herein.

       94.     For these reasons, all applicable statutes of limitation have been tolled based on the

discovery rule and Defendant’s fraudulent concealment; further, Defendant is estopped from

relying on any statutes of limitations in defense of this action.

                               CLASS ACTION ALLEGATIONS

       95.     Plaintiffs bring this action pursuant to the provisions of Rules 23(a), 23(b)(2), and

23(b)(3) of the Federal Rules of Civil Procedure, on behalf of themselves and the following

proposed classes:

       Nationwide Class:
       All persons or entities in the United States who purchased an iFIT Class Device.


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       Florida Subclass:
       All persons or entities who purchased an iFIT Class Device in Florida.

       New York Subclass:
       All persons or entities who purchased an iFIT Class Device in New York.



       96.      Together, the Nationwide Class and the Florida and New York Subclasses shall be

collectively referred to herein as the “Class.” Excluded from the Class are Defendant, its affiliates,

employees, officers and directors, persons or entities that purchased the Class Devices for purposes

of resale, and the Judge(s) assigned to this case. Plaintiffs reserve the right to modify, change or

expand the Class definition after conducting discovery.

       97.      Numerosity: The Class is so numerous that joinder of all members is impracticable.

While the exact number and identities of individual members of the Class are unknown at this

time, such information being in the possession of Defendant and obtainable by Plaintiffs only

through the discovery process, Plaintiffs believe that the Class consists of hundreds of thousands,

if not millions, of persons and entities that were deceived by Defendant’s conduct.

       98.      Existence and Predominance of Common Questions of Fact and Law: Common

questions of fact and law exist as to all members of the Class. These questions predominate over

the questions affecting individual Class Members. These common factual and legal questions

include, but are not limited to:

             a. Whether Defendant engaged in the conduct alleged herein;

             b. Whether Defendant designed, advertised, marketed, distributed, sold, or otherwise
                placed the Class Devices into the stream of commerce in the United States;

             c. Whether Defendant knew about, and failed to disclose, the Defect at the time
                Plaintiffs and the Class members purchased their Class Devices;

             d. Whether Defendant designed, manufactured, marketed, and distributed the Class
                Devices knowing that the Defect could and would occur;




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             e. Whether Defendant’s conduct violates consumer protection statutes, false
                advertising laws, sales contracts, warranty laws, and other laws as asserted herein;

             f. Whether Defendant owed a duty to warn Plaintiffs and Class Members about the
                Defect;

             g. Whether Plaintiffs and the other Class members overpaid for their Class Devices;

             h. Whether Defendant breached its warranties by failing to properly inspect and repair
                the Defect;

             i. Whether Plaintiffs and the other Class members are entitled to equitable relief,
                including, but not limited to, restitution or injunctive relief; and

             j. Whether Plaintiffs and the other Class members are entitled to damages and other
                monetary relief and, if so, in what amount.

       99.      Typicality: All of Plaintiffs’ claims are typical of the claims of the Class since each

Class Device was advertised with the same type of false and/or misleading statements, regardless

of model or production year. Plaintiffs and the Class sustained monetary and economic injuries

including, but not limited to, ascertainable losses arising out of Defendant’s wrongful conduct.

Plaintiffs are advancing the same claims and legal theories on behalf of herself and all absent Class

Members.

       100.     Adequacy: Plaintiffs are adequate Class representatives because his interests do

not materially or irreconcilably conflict with the interests of the Class that he seeks to represent,

he has retained counsel competent and highly experienced in complex class action litigation, and

he intends to prosecute this action vigorously. The interests of the Class will be fairly and

adequately protected by Plaintiffs and their counsel.

       101.     Superiority: A class action is superior to all other available means of fair and

efficient adjudication of the claims of Plaintiffs and the Class. The injury suffered by each

individual Class Member is relatively small in comparison to the burden and expense of individual

prosecution of the complex and extensive litigation necessitated by Defendant’s conduct. It would




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be virtually impossible for members of the Class individually to effectively redress the wrongs

done to them. Even if the members of the Class could afford such individual litigation, the court

system could not. Individualized litigation presents a potential for inconsistent or contradictory

judgments. Individualized litigation increases the delay and expense to all parties and to the court

system presented by the complex legal and factual issues of the case. By contrast, the class action

device presents far fewer management difficulties, and provides the benefits of single adjudication,

economy of scale, and comprehensive supervision by a single court. Members of the Class can be

readily identified and notified based on, inter alia, Defendant’s records and databases.

       102.     Defendant has acted, and refused to act, on grounds generally applicable to the

Class, thereby making appropriate final injunctive and equitable relief with respect to the Class as

a whole.

                                      CAUSES OF ACTION
                                            COUNT I
                  VIOLATION OF MAGNUSON-MOSS WARRANTY ACT,
                               15 U.S.C. § 2301, et seq. (“MMWA”)
              (on behalf of the Nationwide Class or alternatively the state Sublcasses)

       103.     Plaintiffs hereby incorporate by reference the allegations contained in the preceding

paragraphs of this Complaint.

       104.     The MMWA provides a private right of action by purchasers of consumer products

against retailers who, inter alia, fail to comply with the terms of an implied or written warranty.

15 U.S.C. § 2310(d)(1). As alleged herein, Defendant has failed to comply with its implied

warranty of merchantability with regard to the Class Devices.

       105.     The Class Devices are consumer products, as that term is defined in 15 U.S.C.

§ 2301(1).




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       106.    Plaintiffs and each member of the Nationwide Class and Florida Class are

consumers, as that term is defined in 15 U.S.C. § 2301(3).

       107.    Defendant is a supplier and warrantor, as those terms are defined in 15 U.S.C.

§§ 2301(4)-(5).

       108.    The MMWA provides a cause of action for breach of warranty or other violations

of the Act. 15 U.S.C. § 2310(d)(1). Defendant breached the implied warranty of merchantability

for the Class Devices, as alleged herein, which it cannot disclaim under the MMWA, 15 U.S.C. §

2308(a)(1), by failing to provide merchantable goods. Plaintiffs have suffered damages as a result

of Defendant’s breach of the implied warranty of merchantability as set forth herein. 15 U.S.C. §§

2310(d)(1)-(2).

       109.    Defendant was provided notice of the claims raised by Plaintiffs and was afforded

a reasonable opportunity to cure. Defendant failed to cure in that it has not offered a repair to

Plaintiffs and consumers for the Defect. Until Plaintiffs’ representative capacity is determined,

notice and opportunity to cure through Plaintiffs, and on behalf of the Class, can be provided under

15 U.S.C. § 2310(e).

       110.    Defendant’s acts and omissions in violation of the MMWA are “[u]nfair methods

of competition in or affecting commerce, and unfair or deceptive acts or practices in or affecting

commerce,” and they are unlawful. 15 U.S.C. § 2310(b); 15 U.S.C. § 45(a)(1).

       111.    Plaintiffs and the members of the Classes have suffered, and are entitled to recover,

damages as a result of Defendant’s breach of express and/or implied warranties and violations of

the MMWA.

       112.    Plaintiffs also seek an award of costs and expenses, including attorneys’ fees, under

the MMWA to prevailing consumers in connection with the commencement and prosecution of




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this action. 15 U.S.C. § 2310(d)(2). Plaintiffs and the prospective Classes intend to seek such an

award, including expert witness costs and other recoverable costs, as prevailing consumers at the

conclusion of this lawsuit.

                                           COUNT II
                             BREACH OF EXPRESS WARRANTY
              (on behalf of the Nationwide Class or alternatively the state Subclasses)

       113.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

       114.     Defendant provided all purchasers and lessees of the Class Devices with the same

express warranties described herein, which became part of the basis of the bargain.

       115.     The parts affected by the Defect were distributed by Defendant in the Class Devices

and are covered by the warranties Defendant provided to all purchasers and lessors of Class

Devices.

       116.     Defendant breached these warranties by selling Class Devices with the Defect,

requiring repair or replacement within the applicable warranty periods, and refusing to honor the

warranties by providing free repairs or replacements during the applicable warranty periods.

       117.     Plaintiffs notified Defendant of the breach within the warranty period, but

Defendant already knew of the Defect and yet chose to conceal it and failed to comply with its

warranty obligations.

       118.     As a direct and proximate cause of Defendant’s breach, Plaintiffs and the members

of the Class bought Class Devices they otherwise would not have, overpaid for their Class Devices,

did not receive the benefit of their bargain, and their Class Devices suffered a diminution in value.

Plaintiffs and the Class have also incurred and will continue to incur costs related to the diagnosis

and repair of the Defect.




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        119.      Defendant’s attempt to disclaim or limit these express warranties is unconscionable

and unenforceable under the circumstances here.

        120.      Specifically, Defendant’s warranty limitation is unenforceable because it

knowingly sold a defective product without informing consumers about the Defect.

        121.      The time limits contained in Defendant’s warranty period were also unconscionable

and inadequate to protect Plaintiffs and members of the Classes. A gross disparity in bargaining

power existed between Defendant and the Class Members, and Defendant knew or should have

known that the Class Devices were defective at the time of sale and would fail well before their

useful lives.

        122.      Plaintiffs and the Class have complied with all obligations under the warranty, or

otherwise have been excused from performance of said obligations as a result of Defendant’s

conduct described herein.

                                             COUNT III
                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                (on behalf of the Nationwide Class or alternatively the state Subclasses)

        123.      Plaintiffs incorporates by reference all allegations of the preceding paragraphs as

though fully set forth herein.

        124.      Defendant manufactured and distributed Class Devices throughout the United

States for sale to Plaintiffs and Class Members.

        125.      Defendant impliedly warranted to Plaintiffs and members of the Classes that their

Class Devices were free of defects and were merchantable and fit for their ordinary purpose for

which such goods are used.

        126.      As alleged herein, Defendant breached the implied warranty of merchantability

because the Class Devices suffer from the Defect. The Class Devices are therefore defective,

unmerchantable, and unfit for their ordinary, intended purpose.


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       127.    After Plaintiffs experienced the Defect and contacted Defendant on multiple

occasions without relief, Plaintiffs gave reasonable and adequate notice to Defendant that the Class

Devices were defective, unmerchantable, and unfit for their intended use or purpose.

       128.    Due to the Defect, Plaintiffs and the members of the Classes are unable to operate

their Class Devices as intended, substantially free from defects. The Class Devices do not provide

consistent workout streaming to Plaintiffs and Class members. As a result, Plaintiffs and members

of the Classes are unable to stream workouts to their Class Devices.

       129.    Plaintiffs did not receive or otherwise have the opportunity to review, at or before

the time of sale, the written warranty containing the purported exclusions and limitations of

remedies. Accordingly, any such exclusions and limitations of remedies are unconscionable and

unenforceable, and Plaintiffs are entitled to all remedies available under Article 2 of the Uniform

Commercial Code and other state laws. Any purported warranty disclaimers, exclusions, and

limitations were unconscionable and unenforceable. As a direct and proximate result of the breach

of implied warranty of merchantability, Plaintiffs and members of the Classes have been injured

in an amount to be proven at trial.

                                           COUNT IV
                            NEGLIGENT MISREPRESENTATION
              (on behalf of the Nationwide Class or alternatively the state Subclasses)

       130.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

       131.    Defendant had a duty to provide honest and accurate information to its customers

so that customers could make informed decisions on the substantial purchase of automobiles.

       132.    Defendant specifically and expressly misrepresented material facts to Plaintiffs and

Class members, as discussed above.




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          133.     Defendant knew, or in the exercise of reasonable diligence, should have known,

that the ordinary and reasonable consumer would be misled by Defendant’s misleading and

deceptive advertisements.

          134.     Plaintiffs   and   the   Class   members     justifiably   relied   on    Defendant’s

misrepresentations and have been damaged thereby in an amount to be determined at trial.

                                              COUNT V
                                   FRAUDULENT CONCEALMENT
                 (on behalf of the Nationwide Class or alternatively the state Subclasses)

          135.     Plaintiffs incorporate by reference the allegations of all foregoing paragraphs as if

they had been set forth in full herein.

          136.     At all relevant times, Defendant was engaged in the business of designing,

manufacturing, distributing, and selling the Class Devices.

          137.     Defendant, acting through its representatives or agents, sold the Class Devices

throughout the United States.

          138.     Defendant willfully, falsely, and knowingly omitted various material facts

regarding the quality and character of the Class Devices, including that they suffered from the

Defect.

          139.     Rather than inform consumers of the truth regarding the Defect, Defendant

concealed material information related to the Defect.

          140.     Defendant’s omissions were material because the Defect has a substantial impact

not simply on the convenience and cost of Class Device maintenance, but also on the reliability of

the Class Devices over time.

          141.     Defendant omitted this material information to drive up sales and maintain its

market power, as consumers would not have purchased the Class Devices, or would have paid

substantially less for them, had they known the truth.


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       142.     Plaintiffs and the Class members had no way of knowing about the Defect.

       143.     Plaintiffs and Class members could not have discovered the above information on

their own, because Defendant was in the exclusive possession of such information.

       144.     Although Defendant has a duty to ensure the accuracy of information regarding the

performance of its Class Devices, it did not fulfill these duties.

       145.     Plaintiffs and Class members sustained injury due to the purchase of Class Devices

that suffered from the Defect.

       146.     Defendant’s acts were done maliciously, oppressively, deliberately, and with intent

to defraud, and in reckless disregard of Plaintiffs and Class members’ rights and well-being, and

in part to enrich itself at the expense of consumers. Defendant’s acts were done to gain commercial

advantage over competitors, and to drive consumers away from consideration of competitor’s

Class Devices. Defendant’s conduct warrants an assessment of punitive damages in an amount

sufficient to deter such conduct in the future.

                                           COUNT VI
                                    UNJUST ENRICHMENT
              (on behalf of the Nationwide Class or alternatively the state Subclasses)

       147.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

       148.     This claim is pled in the alternative to Plaintiffs’ contract-based claims.

       149.     Defendant knew or should have known that Plaintiffs and the class paid for the

Class Devices with the expectation that they would perform as represented and were free from

defects.

       150.     Plaintiffs and the Class conferred substantial benefits on Defendant by purchasing

the defective Class Devices. Defendant knowingly and willingly accepted and enjoyed those

benefits.


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       151.    Defendant’s retention of these benefits is inequitable.

       152.    As a direct and proximate cause of Defendant’s unjust enrichment, Plaintiffs and

the Class are entitled to an accounting, restitution, attorneys’ fees, costs and interest.

                                  COUNT VII
             VIOLATION OF THE FLORIDA DECEPTIVE AND UNFAIR
           TRADE PRACTICES ACT (“FDUTPA”), Fla. Stat. §§ 501.201, et seq.
                         (on behalf of the Florida Class)

       153.    Plaintiff Baron and the Florida Class incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

       154.    Plaintiff Baron brings this claim on behalf of himself and on behalf of the Florida

Class against Defendant.

       155.    The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”) prohibits

“[u]nfair methods of competition, unconscionable acts or practices, and unfair or deceptive acts or

practices in the conduct of any trade or commerce.” Fla. Stat. § 501.204(1). Defendant engaged

in unfair and deceptive practices that violated the FDUTPA as described above.

       156.    Defendant engaged in “trade or commerce” in Florida within the meaning of the

FDUTPA. See Fla. Stat. § 501.203(8).

       157.    Defendant caused to be made or disseminated through Florida and the United

States, through advertising, marketing and other publications, statements that were untrue or

misleading, and which were known, or which by the exercise of reasonable care should have been

known to Defendant, to be untrue and misleading to consumers, including Plaintiff Baron and the

other Florida Class Members and otherwise engaged in activities with a tendency or capacity to

deceive.

       158.    In violation of the FDUTPA, Defendant employed unfair and deceptive acts or

practices, fraud, false pretense, misrepresentation, or concealment, suppression or omission of a



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material fact with intent that others rely upon such concealment, suppression or omission, in

connection with the sale of Class Devices. Defendant knowingly concealed, suppressed and

omitted materials facts regarding the Defect and misrepresented the standard, quality, or grade of

the Class Devices, which directly caused harm to Plaintiff Baron and the Florida Class.

       159.    Defendant actively suppressed the fact that that Class Devices contain the Defect

because of materials, workmanship, design, and/or manufacturing defects. Further, Defendant

employed unfair and deceptive trade practices by failing to provide repairs of the Defect or

replacement of Class Devices due to the Defect within a reasonable time in violation of the

FDUTPA. Defendant also breached its warranties as alleged above in violation of the FDUTPA.

       160.    As alleged above, Defendant has known of the Defect contained in the Class

Devices for years. Prior to selling the Class Devices, Defendant knew or should have known the

Class Devices contained the Defect due to pre-production testing, quality control

audits/investigations, and other pre-sale manufacturing/design assessments. Defendant also should

have known of the Defect from the early complaints and service requests it received from Class

Members and from other internal sources. Defendant nevertheless failed to disclose and actively

concealed the Defect.

       161.    Defendant’s unfair and deceptive trade practices were likely intended to deceive a

reasonable consumer. Plaintiff Baron and members of the Florida Class had no reasonable way to

know that the Class Devices contained the Defect or were defective in workmanship, design,

and/or manufacture. Defendant possessed superior knowledge as to the quality and characteristics

of the Class Devices, including the Defect within its Class Devices, and any reasonable consumer

would have relied on Defendant’s misrepresentations and omissions, as Plaintiff Baron and

members of the Florida Class did.




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       162.     Defendant intentionally and knowingly misrepresented material facts and omitted

material facts regarding the Class Devices and the Defect present in Class Devices with an intent

to mislead Plaintiff Baron and the Florida Class.

       163.     Defendant knew or should have known that their conduct violated the FDUTPA.

       164.     Defendant owed Plaintiff Baron and the Florida Class a duty to disclose the true

nature, character, and reliability of the Class Devices and the existence of the Defect because

Defendant:

       a. Possessed exclusive knowledge of the Defect;
       b. Intentionally concealed the foregoing from Plaintiff Baron and the Florida Class; and/or
       c. Represented that goods or services have sponsorship, approval, characteristics, uses,
             and benefits that they do not have;

       d. Provided, disseminated, marketed, and otherwise distributed uniform false and
             misleading advertisements, technical data, and other information to consumers
             regarding the performance, reliability, quality, and nature of the Class Devices;

       e. Represented that goods or services were of a particular standard, quality, or grade,
             when they were of another;

       f. Engaged in unconscionable commercial practices in failing to reveal material facts and
             information about the Class Devices, which did, or tended to, mislead Plaintiff Baron
             and the Florida Class Members about facts that could not reasonably be known by the
             consumer;

       g. Failed to reveal facts that were material to the transactions in light of representations
             of fact made in a positive manner;

       h. Caused Plaintiff Baron and the Florida Class Members to suffer a probability of
             confusion and a misunderstanding of legal rights, obligations, and/or remedies by and
             through its conduct;

       i. Failed to reveal material facts to Plaintiff Baron and the Florida Class Members with
             the intent that Plaintiff Baron and the Florida Class Members would rely upon the
             omission; and

       j. Made material representations and statements of fact to Plaintiff Baron and the Florida
             Class Members that resulted in Plaintiff Baron and the Florida Class Members


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           reasonably believing the represented or suggested state of affairs to be other than what
           they actually were.

       165.    Plaintiff Baron and the other Florida Class Members have suffered an injury in fact,

including the loss of money or property, as a result of Defendant’s unfair, unlawful, and/or

deceptive practices. In purchasing their Class Devices, Plaintiff Baron and the other Florida Class

Members relied on the misrepresentations and/or omissions of Defendant with respect to the

functionality and reliability of the Class Devices. Defendant’s representations were untrue because

the Class Devices are distributed with the Defect that prevents seamless streaming of iFIT

workouts. Had Plaintiff Baron and the other Florida Class Members known this, they would not

have purchased their Class Devices and/or paid as much for them. Accordingly, Plaintiff Baron

and the other Florida Class Members overpaid for their Class Devices and did not receive the

benefit of their bargain.

       166.    All of the wrongful conduct alleged herein occurred, and continues to occur, in the

conduct of Defendant’s businesses. Defendant’s wrongful conduct is part of a pattern or

generalized course of conduct that is still perpetuated and repeated, both in the state of Florida and

nationwide.

       167.    Plaintiff Baron, individually and on behalf of the other Florida Class Members,

request that this Court enter such orders or judgments as may be necessary to enjoin Defendant

from continuing their unfair, unlawful, and/or deceptive practices and to provide declaratory relief,

attorneys’ fees, and any other just and proper relief available under the FDUTPA.

                                        COUNT VII
                            BREACH OF EXPRESS WARRANTY
                                      F.S.A. § 672.313
                               (on behalf of the Florida Class)

       168.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.


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       169.    Plaintiff Baron brings this cause of action on his own behalf and on behalf of the

members of the Florida Class.

       170.    Defendant is and was at all relevant times a “merchant” under F.S.A. § 672.104(1).

       171.    The Class Devices are and were at all relevant times “goods” within the meaning

of F.S.A. § 672.105(1).

       172.    Defendant provided all purchasers of the Class Devices with a warranty, which

became a material part of the bargain.

       173.    In the warranty, Defendant agreed to repair or replace all parts on the Class Devices

that malfunction or fail during normal use.

       174.    Defendant manufactured and/or installed all parts, including the streaming screens,

in the Class Devices; thus, the Class Devices and their component parts are covered by Defendant’s

warranty.

       175.    The Defect at issue in this litigation was present at the time the Class Devices were

sold to Plaintiff Baron and the Florida Class Members.

       176.    Plaintiff Baron and the Florida Class Members relied on Defendant’s express

warranty, which was a material part of the bargain, when purchasing their Class Devices.

       177.    Under the express warranty, Defendant was obligated to correct the Defect in the

Class Devices owned by Plaintiff Baron and the Florida Class Members.

       178.    Although Defendant was obligated to correct the Defect, none of the attempted

fixes are adequate under the terms of the warranty, as they did not cure the defect.

       179.    Defendant breached the express warranty by performing illusory repairs. Rather

than repairing the Class Devices pursuant to the express warranty, Defendant: (1) falsely informed

Florida Class Members that there was no problem with their Class Devices; (2) performed




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ineffective or harmful repairs; (3) replaced defective components with equally defective

components; and (4) re-calibrated or replaced original factory-installed equipment in an effort to

hide evidence of the Defect. Defendant did not, however, actually repair the Class Devices.

        180.    Defendant has failed and refused to conform the Class Devices to the express

warranty. Defendant’s conduct, as alleged throughout this Complaint, has voided any attempt on

its part to disclaim liability for its actions.

        181.    Moreover, Defendant’s attempt to disclaim or limit the express warranty vis-à-vis

consumers is unconscionable and unenforceable under the circumstances here. Specifically,

Defendant’s warranty limitation is unenforceable because it knowingly sold a defective product

without informing consumers about the defect.

        182.    The time limits contained in Defendant’s warranty period were also unconscionable

and inadequate to protect Plaintiff Baron and the Florida Class Members. Among other things,

Plaintiff Baron and the Florida Class Members had no meaningful choice in determining these

time limitations, the terms of which unreasonably favored Defendant. A gross disparity in

bargaining power existed between Defendant and the Class members, and Defendant knew or

should have known that the Class Devices were defective at the time of sale.

        183.    Plaintiff Baron and the Florida Class Members have complied with all obligations

under the Warranties, or otherwise have been excused from performance of said obligations as a

result of Defendant’s conduct described herein.

        184.    Plaintiff Baron and the Florida Class Members were not required to notify

Defendant of the breach because affording Defendant a reasonable opportunity to cure its breach

of written warranty would have been futile. Defendant was also on notice of the Defect from the

complaints it received from Plaintiff Baron and the Florida Class Members, from repairs and/or




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replacements of the Class Devices or components thereof, and through other internal and external

sources.

            185.   Because Defendant, through its conduct and exemplified by its own software

updates and troubleshooting suggestions, has attempted to repair the Defect under warranty,

Defendant cannot now deny that the warranty covers the Defect.

            186.   Because Defendant has not been able to remedy the Defect, any limitation on

remedies included in the warranty causes the warranty to fail its essential purpose, rendering such

limitation null and void.

            187.   As a direct and proximate cause of Defendant’s breach, Plaintiff Baron and the

Florida Class Members suffered damages and continue to suffer damages, including economic

damages at the point of sale. Additionally, Plaintiff Baron and the Florida Class Members have

incurred or will incur economic damages at the point of repair in the form of the cost of repair.

            188.   As a direct and proximate result of Defendant’s breach of express warranties,

Plaintiff Baron and the Florida Class Members have been damaged in an amount to be determined

at trial.

                                          COUNT VIII
                               BREACH OF IMPLIED WARRANTY
                                         F.S.A. § 672.314
                                  (on behalf of the Florida Class)

            189.   Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

            190.   Defendant is and was at all relevant times a “merchant” under F.S.A. § 672.104(1).

            191.   The Class Devices are and were at all relevant times “goods” within the meaning

of F.S.A. § 672.105(1).




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       192.    A warranty that the Class Devices were in merchantable condition and fit for the

ordinary purpose for which Class Devices are used is implied by law under F.S.A. § 672.314.

       193.    Defendant knew or had reason to know of the specific use for which the Class

Devices were purchased. Defendant directly sold and marketed Class Devices to customers from

its various websites and/or through authorized dealers, for the intended purpose of consumers

purchasing the Class Devices. To the extent Class Devices were sold to Florida Class Members

directly through its various websites or through authorized dealers, Defendant knew that the Class

Devices would and did pass unchanged from the authorized dealers to Florida Class Members,

with no modification to the defective devices.

       194.    Defendant provided Plaintiff Baron and Florida Class Members with an implied

warranty that the Class Devices and their components and parts are merchantable and fit for the

ordinary purposes for which they were sold.

       195.    This implied warranty included, among other things: (i) a warranty that the Class

Devices and their components, including their streaming screens, that were manufactured,

supplied, distributed, and/or sold by Defendant were reliable for providing streamed workouts;

and (ii) a warranty that the Class Devices would be fit for their intended use while the Class

Devices were being operated.

       196.    Contrary to the applicable implied warranties, the Class Devices and their

components, including their streaming screens, at the time of sale and thereafter were not fit for

their ordinary and intended purpose of providing Plaintiff Baron and Florida Class Members with

reliable streamed workouts. Instead, the Class Devices are defective, beginning with the existence

of the streaming Defect at the time of sale and thereafter. Defendant knew of this Defect at the

time these sale transactions occurred.




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        197.    As a result of Defendant’s breach of the applicable implied warranties, Plaintiff

Baron and the Florida Class Members of the Class Devices suffered an ascertainable loss of money,

property, and/or value of their Class Devices. Additionally, as a result of the Defect, Plaintiff Baron

and the Florida Class Members were harmed and suffered actual damages in that the Class

Devices’ streaming components are substantially certain to fail before their expected useful life

has run.

        198.    Defendant’s actions, as complained of herein, breached the implied warranty that

the Class Devices were of merchantable quality and fit for such use in violation of F.S.A.

§ 672.314.

        199.    Plaintiff Baron and the Florida Class Members have complied with all obligations

under the warranty, or otherwise have been excused from performance of said obligations as a

result of Defendant’s conduct described herein.

        200.    Plaintiff Baron and the Florida Class Members were not required to notify

Defendant of the breach because affording Defendant a reasonable opportunity to cure its breach

of warranty would have been futile. Defendant was also on notice of the Defect from the

complaints it received from Plaintiffs and the Class Members, from repairs and/or replacements of

Class Device components thereof, and through other internal sources.

        201.    As a direct and proximate cause of Defendant’s breach, Plaintiff Baron and the

Florida Class Members suffered damages and continue to suffer damages, including economic

damages at the point of sale of their Class Devices. Additionally, Plaintiff Baron and the Florida

Class Members have incurred or will incur economic damages at the point of repair in the form of

the cost of repair.




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        202.    As a direct and proximate result of Defendant’s breach of the implied warranty of

merchantability, Plaintiff Baron and the Florida Class Members have been damaged in an amount

to be proven at trial.

                                COUNT IX
   VIOLATION OF THE NEW YORK GENERAL BUSINESS LAW (“NYGBL”) §349
                         N.Y. Gen Bus. Law § 349
                     (on behalf of the New York Class)

        203.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

        204.    Plaintiff Millett brings this claim on behalf of the New York Class.

        205.    The New York General Business Law makes unlawful “[d]eceptive acts or

practices in the conduct of any business, trade or commerce.” N.Y. Gen. Bus. Law § 349.

        206.    Plaintiff Millett and New York Class members are “persons” within the meaning

of N.Y. Gen. Bus. Law § 349(h).

        207.    iFIT is a “person,” “firm,” “corporation,” or “association” within the meaning of

N.Y. Gen. Bus. Law § 349.

        208.    iFIT concealed the nature, scope, and severity of the Defect and failed to inform

purchasers of Class Devices that the Class Devices were designed, manufactured, and sold

containing the Defect, which would prevent them from streaming workouts.

        209.    iFIT’s deceptive acts and practices, which were intended to mislead consumers who

purchased Class Devices, was conduct directed at consumers.

        210.    iFIT consciously failed to disclose material facts to Plaintiff Millett and other New

York Class members with respect to the use associated with the Class Devices.




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       211.    iFIT intended for Plaintiff Millett and New York Class members to rely on iFIT’s

acts of concealment and omissions, so that Plaintiff Millett and New York Class members would

purchase the Class Devices.

       212.    The foregoing acts, omissions and practices proximately caused Plaintiff Millett

and New York Class members to suffer actual injury.

       213.    Because iFIT’s willful and knowing conduct caused injury to Plaintiff Millett and

New York Class members, Plaintiff Millett seeks recovery of actual damages or $50, whichever

is greater; discretionary treble damages up to $1,000; punitive damages; reasonable attorneys’ fees

and costs; an order enjoining iFIT’s deceptive conduct; and any other just and proper relief

available under N.Y. Gen. Bus. Law § 349.

                                COUNT X
 BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY (N.Y. U.C.C. § 2-314)
      AND FITNESS FOR A PARTICULAR PURPOSE (N.Y. U.C.C. § 2-315)
                    (on behalf of the New York Class)

       214.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

       215.    Plaintiff Millett brings this claim on behalf of the New York Class.

       216.    iFIT is a “merchant” within the meaning of N.Y. U.C.C. §§ 2-314, 2-315.

       217.    The Class Devices are “goods” within the meaning of N.Y. U.C.C. §§ 2-314, 2-

315.

       218.    iFIT’s implied warranties of merchantability and fitness for a particular purpose

accompanied the sale of the Class Vehicles to Plaintiff Millett and New York Class members.

       219.    iFIT, by implication, warranted that the Class Devices were merchantable and fit

for ordinary use.




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       220.    The Class Devices are not merchantable and/or fit for their ordinary purpose of

providing streamed workouts to owners because, inter alia, the Class Devices suffer from inherent

defects at the time of sale that render them not merchantable because no consumer would purchase

them if they knew that they contained a Defect that prevented the very purpose for which they are

marketed and sold (i.e., to stream workouts to the devices), and thereafter are not fit for their

particular purpose of providing streamed workouts.

       221.    As set forth herein, any effort by iFIT to disclaim or otherwise limit its

responsibility for the defective Class Devices is unconscionable under all of the circumstances,

including because iFIT knew that the Class Devices were unmerchantable and unfit for normal

use. Through the conduct described herein, iFIT breached its implied warranty of merchantability

and fitness for a particular purpose, and is therefore liable to Plaintiff Millett and New York Class

members.

       222.    Plaintiff Millett and New York Class members were in privity with iFIT through

written warranty agreements relating to their Class Devices.

       223.    As a direct and proximate cause of iFIT’s breach of implied warranties, Plaintiff

Millett and New York Class members have sustained damages and other losses in an amount to be

determined at trial.

       224.    Plaintiff Millett and New York Class members have provided timely notice to iFIT

regarding the problems they experienced with the Class Devices and, notwithstanding such notice,

iFIT has failed and refused to remedy the Defect.




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                                         COUNT XI
                            BREACH OF EXPRESS WARRANTY
                                    (N.Y. U.C.C. § 2-313)
                              (on behalf of the New York Class)

       225.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

       226.    Plaintiff Millett brings this claim on behalf of the New York Class.

       227.    As an express warrantor and manufacturer and merchant, iFIT had certain

obligations under N.Y. U.C.C. § 2-313 to conform the Class Devices to the express warranties.

       228.    When Plaintiff Millett and the New York Class members purchased their Class

Devices, iFIT expressly warranted in writing that the Class Devices were covered by a warranty,

and that warranty formed the basis of the bargain. As set forth herein, iFIT expressly warranted

that the Class Devices were free from defects in workmanship and material and that if defects were

to arise, iFIT would repair them and/or replace the Class Devices. Also, as set forth herein, iFIT

breached its warranty obligations by selling inherently defective Class Devices and refusing to

repair the defects or replace the defective parts or Class Devices.

       229.    The defects at issue in this litigation were present at the time of sale to Plaintiff

Millett and members of the New York Class.

       230.    iFIT breached its warranties to repair and adjust defects in materials and

workmanship of any part supplied by iFIT as it has refused to replace the defective parts that cause

the Defect.

       231.    Furthermore, the warranty fails in its essential purpose because the contractual

remedy is insufficient to make Plaintiff Millett and the New York Class members whole and

because iFIT has failed and/or refused to adequately provide the promised remedies within a

reasonable time.



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        232.       Pursuant to the express warranties, iFIT was obligated to pay for or reimburse

Plaintiff Millett and the New York Class members for costs incurred in replacement parts and/or

repairs to their Class Devices. iFIT was also obligated to repair the Defect in Class Devices.

        233.       Accordingly, Plaintiff Millett and the New York Class members seek all remedies

as allowed by law.

        234.       Also, as alleged in more detail herein, at the time that iFIT warranted and sold the

Class Devices, and while knowing that the Class Devices did not conform to iFIT’s warranty and

were inherently defective, iFIT wrongfully and fraudulently concealed material facts regarding the

Class Devices. Plaintiffs and the New York Class members were therefore induced to purchase

the Class Devices under false and/or fraudulent pretenses.

        235.       iFIT and its agent dealers have failed and refused to conform the Class Devices to

the express warranties, and iFIT’s conduct has voided any attempt on its part to disclaim liability

for its actions.

        236.       iFIT was provided notice of the Defect in Class Devices through the receipt of

numerous complaints regarding streaming and/or connectivity issues. iFIT has received, on

information and belief, many complaints from New York Class members advising iFIT of the

Defect at issue in this litigation.

        237.       Plaintiff Millett and New York Class members have performed each and every duty

required under the terms of the warranties, except as may have been excused or prevented by the

conduct of iFIT or by operation of law in light of iFIT’s unconscionable conduct.

        238.       Plaintiffs have had sufficient dealings with either iFIT or its agents to establish

privity of contract. Privity is not required in this case because Plaintiff Millett and the New York

Class members are intended third-party beneficiaries of contracts between iFIT and its




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resellers/dealers; specifically, they are the intended beneficiaries of iFIT’s express warranties and

these warranties were advertised to Plaintiff Millett and the New York Class members as the

ultimate consumers. The dealers were not intended to be the ultimate consumers of the Class

Devices and have no rights under the warranty agreements provided with the Class Devices; the

warranty agreements were designed for and intended to benefit the ultimate consumers only.

       239.    As a direct and proximate result of iFIT’s breach of express warranty, Plaintiff

Millett and the New York Class members have been damaged in an amount to be determined at

trial, including but not limited to diminution of value and benefit of the bargain damages.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of members of the Class defined

above, respectfully request that the Court enter judgment against Defendant and award the

following relief:

       A.      Certification of this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure, declaring Plaintiff as the representatives of the Classes, and Plaintiffs’ counsel

as counsel for the Classes;

       B.      An order awarding declaratory relief and temporarily and permanently enjoining

Defendant from continuing the unlawful, deceptive, fraudulent, and unfair business practices

alleged in this Complaint;

       C.      Appropriate injunctive and/or declaratory relief, including, without limitation, an

order that requires Defendant to repair, recall, and/or replace the Class Devices and to extend the

applicable warranties to a reasonable period of time, or, at a minimum, to provide Plaintiffs and

Class members with appropriate curative notice regarding the existence and cause of the Defect;

       D.      An award of appropriate damages to repair or replace the Class Devices;




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       E.      A declaration that Defendant is financially responsible for all Class notice and the

administration of Class relief;

       F.      An order awarding any applicable statutory and civil penalties;

       G.      An order requiring Defendant to pay both pre- and post-judgment interest on any

amounts awarded;

       H.      An award of costs, expenses, and attorneys’ fees as permitted by law; and

       I.      Such other or further relief as the Court may deem appropriate, just, and equitable.

                                  DEMAND FOR JURY TRIAL

       Plaintiffs respectfully demand a trial by jury on all issues so triable.

DATED: October 4, 2022                Respectfully submitted,

                                      By: /s/ Ian Connor Bifferato
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